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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 07-cr-45-4-PB

Ricardy Roseaux



                               O R D E R

     On April 10, 2008, defendant appeared for a “probable cause”

hearing under Fed. R. Crim. P. 32.1 on six alleged violations of

conditions of supervision.      Probation officer Paul Daniel

testified.   He established that defendant was found with

convicted felons on two instances.          He admitted possession of

cocaine.   He was not truthful with probation about his job

contacts, the identities of persons he was with and he has not

been employed since release.      I therefore find probable cause to

hold him for a revocation hearing.

     Defendant sought bail conditions under Rule 32.1(a)(6).

Under Rule 32.1(a)(6) defendant bears the burden of establishing

by clear and convincing evidence that he will not flee and that

he poses no danger to any other person or to the community.                  He

has not borne the burden as to danger.          He was unemployed, in

possession of $2,000, in a rented car, admitted to handling
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cocaine, has rented a room in a Concord motel, was stopped by

police in Massachusetts and had a felon in his room.            That is

indication of drug dealings, not job hunting in Berlin.             He is a

risk of flight and a danger to the community.          There are no

conditions which are likely to assure his presence and the safety

of the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.   The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection




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with a court proceeding.

      SO ORDERED.


                                   _________________________________
                                   James R. Muirhead
                                   United States Magistrate Judge


Date: April 11, 2008

cc:    David W. Ruoff, Esq.
       Peter E. Papps, Esq.
       U.S. Marshal
       U.S. Probation




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